FILED
IN OPEN COURT.

UNITED STATES DISTRICT COURT JUL 2 2 2009
EASTERN DISTRICT OF VIRGINIA
Newport News Division CLERK, U.S. DISTRICT COURT
NORFOLK, VA

UNITED STATES OF AMERICA,

Vv. Criminal No. 4:08cr16-03

DAVID ANTHONY RUNYON,
Defendant.
ORDER

This matter comes before the court on defendant's motion for
appointment of James R. Merikangas, M.D.’ On June 23, 2009, the
court took the motion under advisement pending the outcome of the
guilt/innocence phase of the trial. (Docket #229.) On July 17,
2009, a guilty verdict was returned against defendant. On July 22,
2009, the jury found the defendant eligible for imposition of the
death penalty. Accordingly, based on the previous pleadings filed
in this matter,? and the “Statement of Counsel,” filed by defendant

on July 17, 2009,°? the court hereby GRANTS defendant’s motion.

1 Defendant moved ex parte for Dr. Merikangas’ appointment on

June 9, 2009. (Docket #206.) The court sought clarification on
this request on June 17, 2009. (Docket #218.) Such additional
information and clarification was received on June 22, 2009.
(Docket #222.) The matter is no longer ex parte. See infra note

3 and accompanying text.

2 See Supra note 1 and accompanying text.

3. The Statement of Counsel, which references Dr. Merikangas

as ‘the psychiatrist defendant wishes to engage,” and which
Clarifies an issue raised in the court’s order of June 23, 2009,
was not filed ex parte, and the United States has addressed this
Upon representation of defendant that such services are reasonably
necessary to present an adequate defense, pursuant to 18 U.S.C.
§ 3599(a) (1), (£), and (g), it is ORDERED that James R. Merikangas,
M.D., be appointed to serve as a psychiatrist and neurologist for
defendant Runyon.’ Dr. Merikangas'’ fees and expenses (to include
all travel and mileage related expenses) shall not exceed
$7,500.00, unless the excess amount is certified in advance by the
presiding judicial officer.

Said examinations and report of findings by Dr. Merikangas
shall be completed on or before August 6, 2009, and filed under
seal with the court and transmitted to the United States on or
before August 7, 2009. Any rebuttal or revised reports in response
by the United States’ experts shall be filed under seal with the
court and transmitted to the defendant on or before August 14,
2009.

/s/
IT IS SO ORDERED. Rebecca Beach Smith

United States District Judge CR

Rebecca Beach Smith
United States. District Judge

Norfolk, Virginia
July a , 2009

matter through its opposition to a continuance. (See Docket #249.)

3 Defendant's original request for appointment of Dr.
Merikangas sought his appointment as a psychiatric expert. (See
Docket #206 at 2.) Defendant’s Statement of Counsel, filed July

17, 2009, indicates that Dr. Merikangas “is also a neurologist,”
and seeks his appointment for his expertise as both a psychiatrist
and a neurologist. (See Docket #242.) As such, Dr. Merikangas is

hereby appointed for both purposes.

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